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                                                                                                  Production                Production             902(11) Production
Ex No.   Description
                                                                                                    BegDoc                    EndDoc                    BegDoc
 1A      Press Release                                                                     DOJ‐BERMAN‐R_0000345759   DOJ‐BERMAN‐R_0000345762   DOJ‐BERMAN‐R_0000345818
 1B      Press Release                                                                     DOJ‐BERMAN‐R_0000345763   DOJ‐BERMAN‐R_0000345766   DOJ‐BERMAN‐R_0000345818
 1C      Press Release                                                                     DOJ‐BERMAN‐R_0000345767   DOJ‐BERMAN‐R_0000345769   DOJ‐BERMAN‐R_0000345818
 1D      Press Release                                                                     DOJ‐BERMAN‐R_0000345770   DOJ‐BERMAN‐R_0000345773   DOJ‐BERMAN‐R_0000345818
 1E      Press Release                                                                     DOJ‐BERMAN‐R_0000345774   DOJ‐BERMAN‐R_0000345777   DOJ‐BERMAN‐R_0000345818
 1F      Press Release                                                                     DOJ‐BERMAN‐R_0000345778   DOJ‐BERMAN‐R_0000345781   DOJ‐BERMAN‐R_0000345818
 1G      Press Release                                                                     DOJ‐BERMAN‐R_0000345782   DOJ‐BERMAN‐R_0000345786   DOJ‐BERMAN‐R_0000345818
 1H      Press Release                                                                     DOJ‐BERMAN‐R_0000345787   DOJ‐BERMAN‐R_0000345792   DOJ‐BERMAN‐R_0000345818
  1I     Press Release                                                                     DOJ‐BERMAN‐R_0000345793   DOJ‐BERMAN‐R_0000345796   DOJ‐BERMAN‐R_0000345818
  1J     Press Release                                                                     DOJ‐BERMAN‐R_0000345797   DOJ‐BERMAN‐R_0000345801   DOJ‐BERMAN‐R_0000345818
 1K      Press Release                                                                     DOJ‐BERMAN‐R_0000345802   DOJ‐BERMAN‐R_0000345805   DOJ‐BERMAN‐R_0000345818
 1L      Press Release                                                                     DOJ‐BERMAN‐R_0000345806   DOJ‐BERMAN‐R_0000345812   DOJ‐BERMAN‐R_0000345818
 1M      Press Release                                                                     DOJ‐BERMAN‐R_0000345813   DOJ‐BERMAN‐R_0000345817   DOJ‐BERMAN‐R_0000345818
         AccessWire User Information, Company Management Permissions, User Activity,
  2                                                                                        DOJ‐BERMAN‐R_0000250929   DOJ‐BERMAN‐R_0000250941   DOJ‐BERMAN‐R_0000345818
         and Press Releases Distributed Using the DECN Account and Accompanying Reports.
 3A      OTC 2019 Annual Report ‐ Financials and Footnotes and Schedules                   DOJ‐BERMAN‐R_0000345240   DOJ‐BERMAN‐R_0000345256   DOJ‐BERMAN‐R_0000344966
 3B      OTC 2019 Annual Report ‐ Management Discussion & Analysis                         DOJ‐BERMAN‐R_0000345257   DOJ‐BERMAN‐R_0000345278   DOJ‐BERMAN‐R_0000344966
 3C      OTC 2019 Annual Report ‐ Supplemental Disclosures                                 DOJ‐BERMAN‐R_0000345279   DOJ‐BERMAN‐R_0000345348   DOJ‐BERMAN‐R_0000344966
 3D      OTC 1Q:2020 ‐ Financials and Footnotes and Schedules                              DOJ‐BERMAN‐R_0000345365   DOJ‐BERMAN‐R_0000345375   DOJ‐BERMAN‐R_0000344966
 3E      OTC 1Q:2020 ‐ Management Discussion & Analysis                                    DOJ‐BERMAN‐R_0000345376   DOJ‐BERMAN‐R_0000345397   DOJ‐BERMAN‐R_0000344966
 3F      OTC 1Q:2020 ‐ Supplemental Disclosures                                            DOJ‐BERMAN‐R_0000345398   DOJ‐BERMAN‐R_0000345459   DOJ‐BERMAN‐R_0000344966
 3G      OTC 2Q:2020 ‐ Financials and Footnotes and Schedules                              DOJ‐BERMAN‐R_0000345039   DOJ‐BERMAN‐R_0000345050   DOJ‐BERMAN‐R_0000344966
 3H      OTC 2Q:2020 ‐ Management Discussion & Analysis                                    DOJ‐BERMAN‐R_0000345051   DOJ‐BERMAN‐R_0000345074   DOJ‐BERMAN‐R_0000344966
 3I      OTC 2Q:2020 ‐ Supplemental Disclosures                                            DOJ‐BERMAN‐R_0000345075   DOJ‐BERMAN‐R_0000345141   DOJ‐BERMAN‐R_0000344966
 3J      OTC 3Q:2020 ‐ Financials and Footnotes and Schedules                              DOJ‐BERMAN‐R_0000345142   DOJ‐BERMAN‐R_0000345154   DOJ‐BERMAN‐R_0000344966
 3K      OTC 3Q:2020 ‐ Management Discussion & Analysis                                    DOJ‐BERMAN‐R_0000345155   DOJ‐BERMAN‐R_0000345176   DOJ‐BERMAN‐R_0000344966
 3L      OTC 3Q:2020 ‐ Supplemental Disclosures                                            DOJ‐BERMAN‐R_0000345177   DOJ‐BERMAN‐R_0000345239   DOJ‐BERMAN‐R_0000344966
                                                                                           DOJ‐BERMAN‐R_0000345001   DOJ‐BERMAN‐R_0000345019
 3M      Shareholder Letters Published on www.otcmarkets.com                                                                                   DOJ‐BERMAN‐R_0000344966
                                                                                           DOJ‐BERMAN‐R_0000345020   DOJ‐BERMAN‐R_0000345038
 3N      Thomas Cook Opinion Letter                                                        DOJ‐BERMAN‐R_0000345349   DOJ‐BERMAN‐R_0000345351   DOJ‐BERMAN‐R_0000344966
 3O      SEC Form 550                                                                      DOJ‐BERMAN‐R_0000345352   DOJ‐BERMAN‐R_0000345364   DOJ‐BERMAN‐R_0000344966
  4      Authorized User Registration                                                      DOJ‐BERMAN‐R_0000337710   DOJ‐BERMAN‐R_0000337714
                                                                                           DOJ‐BERMAN‐R_0000345464   DOJ‐BERMAN‐R_0000345464
                                                                                           DOJ‐BERMAN‐R_0000345465   DOJ‐BERMAN‐R_0000345467
  5      OTC Weekly Reports Emailed to Keith Berman                                                                                            DOJ‐BERMAN‐R_0000344966
                                                                                           DOJ‐BERMAN‐R_0000345541   DOJ‐BERMAN‐R_0000345541
                                                                                           DOJ BERMAN R 0000345542   DOJ BERMAN R 0000345544

  7      OTC Quotation Activity                                                            DOJ‐BERMAN‐R_0000345462   DOJ‐BERMAN‐R_0000345462   DOJ‐BERMAN‐R_0000344966

                                                                                           DOJ‐BERMAN‐R_0000254668   DOJ‐BERMAN‐R_0000254668   DOJ‐BERMAN‐R_0000337606
                                                                                           DOJ‐BERMAN‐R_0000254432   DOJ‐BERMAN‐R_0000254667   DOJ‐BERMAN‐R_0000337681
 8A      Bank of America ‐ Pharma Tech Solutions Inc. (x0470)
                                                                                           DOJ‐BERMAN‐R_0000272776   DOJ‐BERMAN‐R_0000273033   DOJ‐BERMAN‐R_0000342171
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 8B      Bank of America ‐ Pharma Tech Solutions Inc. (x0978)
                                                                                           DOJ‐BERMAN‐R_0000270100   DOJ‐BERMAN‐R_0000270101   DOJ‐BERMAN‐R_0000342171
                                                                                           DOJ BERMAN R 0000337384
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 8C      Bank of America ‐ Pharmatech Direct Corp. (x0819)
                                                                                           DOJ‐BERMAN‐R_0000270096   DOJ‐BERMAN‐R_0000270097   DOJ‐BERMAN‐R_0000342171
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 8D      Bank of America ‐ Instacare Corp. (x0954)
                                                                                           DOJ‐BERMAN‐R_0000270094   DOJ‐BERMAN‐R_0000270095   DOJ‐BERMAN‐R_0000342171
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 8E      Bank of America ‐ PDA Services Inc. (x0973)
                                                                                           DOJ‐BERMAN‐R_0000270098   DOJ‐BERMAN‐R_0000270099   DOJ‐BERMAN‐R_0000342171
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 8F      Bank of America ‐ IT Health Net & Medicus (x2430)
                                                                                           DOJ‐BERMAN‐R_0000270086   DOJ‐BERMAN‐R_0000270087   DOJ‐BERMAN‐R_0000342171
                                                                                           DOJ BERMAN R 0000337424   DOJ BERMAN R 0000337425   DOJ BERMAN R 0000342172
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                                                                                                  DOJ‐BERMAN‐R_0000264016          DOJ‐BERMAN‐R_0000264023        DOJ‐BERMAN‐R_0000337681
8G   Bank of America ‐ IT Health Net & Medicus (x4564)
                                                                                                  DOJ‐BERMAN‐R_0000264010          DOJ‐BERMAN‐R_0000264015        DOJ‐BERMAN‐R_0000342171
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8H   Bank of America ‐ Decision IT Corp. (x6977)
                                                                                                  DOJ‐BERMAN‐R_0000263396          DOJ‐BERMAN‐R_0000263397        DOJ‐BERMAN‐R_0000342171
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8I   Bank of America ‐ Pharmatech Sensor Development Corp. (x3692)
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8J   Bank of America ‐ Keith Berman (x2054)
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8K   Bank of America ‐ Pharma Tech Solutions (x7571)
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8L   Bank of America ‐ Keith Berman (x0267)
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8M   JPMorgan Chase ‐ Keith Berman (x2206)
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8N   JPMorgan Chase ‐ Keith Berman (x4569)
                                                                                                  DOJ‐BERMAN‐R_0000260091          DOJ‐BERMAN‐R_0000260174        DOJ‐BERMAN‐R_0000337656
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     JPMorgan Chase ‐ Keith Berman; IT Health.Net Inc. (x3060)                                    DOJ‐BERMAN‐R_0000266159          DOJ‐BERMAN‐R_0000266352        DOJ‐BERMAN‐R_0000337619
8O
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8P   American Express ‐ Decision Diagnostics / Keith Berman (x2‐41003)
                                                                                                  DOJ‐BERMAN‐R_0000327198          DOJ‐BERMAN‐R_0000327249        DOJ‐BERMAN‐R_0000337655
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8Q   American Express ‐ Decision Diagnostics / Keith Berman (x5‐11008)
                                                                                                  DOJ‐BERMAN‐R_0000259082          DOJ‐BERMAN‐R_0000259111        DOJ‐BERMAN‐R_0000337655
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8R   American Express ‐ Decision Diagnostics / Keith Berman (x7‐61005)
                                                                                                  DOJ‐BERMAN‐R_0000259112          DOJ‐BERMAN‐R_0000259226        DOJ‐BERMAN‐R_0000337655
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8S   American Express ‐ Decision Diagnostics / Keith Berman (x7‐71004)
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8T   Citibank / Sears Mastercard ‐ Keith Berman (x4930)                                                                                                           DOJ‐BERMAN‐R_0000337617
                                                                                                  DOJ‐BERMAN‐R_0000340957          DOJ‐BERMAN‐R_0000341080
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8U   Discover Bank ‐ Keith Berman / Wendy Block (x2159)                                                                                                           DOJ‐BERMAN‐R_0000337663
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8V   General Ledger exports from Quickbooks, 2017 ‐2020                                           DOJ‐BERMAN‐R_0000323155          DOJ‐BERMAN‐R_0000323158        DOJ‐BERMAN‐R_0000322109
                                                                                                DOJ‐BERMAN‐R_0000337600 DOJ‐     DOJ‐BERMAN‐R_0000337601 DOJ‐
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9    Charter Communications Inc. (Spectrum) ‐ 23.242.160.144                                        BERMAN‐R_0000257893        BERMAN‐R_0000257935: DOJ‐BERMAN‐
                                                                                                                                                                  DOJ‐BERMAN‐R_0000257941
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                                                                                                  DOJ‐BERMAN‐R_0000332870          DOJ‐BERMAN‐R_0000332870
                                                                                                                                                                  DOJ‐BERMAN‐R_0000337687
10   Frontier Communications ‐ 47.154.204.232, 47.156.168.247, 47.156.172.159, 47.156.174.118     DOJ‐BERMAN‐R_0000345693          DOJ‐BERMAN‐R_0000345694
                                                                                                                                                                  DOJ‐BERMAN‐R_0000337690
                                                                                                  DOJ‐BERMAN‐R_0000257871          DOJ‐BERMAN‐R_0000257872
11   Oath Holdings Inc. (quantromain)                                                             DOJ‐BERMAN‐R_0000328827          DOJ‐BERMAN‐R_0000328827        DOJ‐BERMAN‐R_0000337674
                                                                                                  DOJ‐BERMAN‐R_0000335475          DOJ‐BERMAN‐R_0000335475
12   Oath Holdings Inc. (madefortunes@yahoo.com)                                                                                                                  DOJ‐BERMAN‐R_0000337695
                                                                                                  DOJ‐BERMAN‐R_0000334377          DOJ‐BERMAN‐R_0000334377
13   Oath Inc. (intermania@aol.com)                                                               DOJ‐BERMAN‐R_0000264425          DOJ‐BERMAN‐R_0000264425        DOJ‐BERMAN‐R_0000337638
                                                                                                  DOJ‐BERMAN‐R_0000329221          DOJ‐BERMAN‐R_0000329221        DOJ‐BERMAN‐R_0000337679
14   Verizon (805.207.5900); (805.446.1973)
                                                                                                  DOJ‐BERMAN‐R_0000258102          DOJ‐BERMAN‐R_0000258102        DOJ‐BERMAN‐R_0000258098
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 15      Oath Inc. (puckhog1953@aol.com)                                            DOJ‐BERMAN‐R_0000262661   DOJ‐BERMAN‐R_0000262661   DOJ‐BERMAN‐R_0000337631
 16      Oath Inc. (ZTB030288@aol.com)                                              DOJ‐BERMAN‐R_0000264430   DOJ‐BERMAN‐R_0000264430   DOJ‐BERMAN‐R_0000337638
                                                                                    DOJ‐BERMAN‐R_0000345658   DOJ‐BERMAN‐R_0000345658
 17      Endurance (Kberman@decisiondiagnostics.net)                                                                                    DOJ‐BERMAN‐R_0000345819
                                                                                    DOJ‐BERMAN‐R_0000345659   DOJ‐BERMAN‐R_0000345659
 18      OTC Login Record                                                           DOJ‐BERMAN‐R_0000345461   DOJ‐BERMAN‐R_0000345461   DOJ‐BERMAN‐R_0000344966
 19      Oath Inc. (mademyfortune@yahoo.com)                                        DOJ‐BERMAN‐R_0000333811   DOJ‐BERMAN‐R_0000333811   DOJ‐BERMAN‐R_0000337691
 20      Transcript of Keith Berman SEC Testimony ‐ Day 1 (excerpted pages 21‐24)   DOJ‐BERMAN‐R_0000292717   DOJ‐BERMAN‐R_0000292717
 21      SEC Bluesheet Data for DECN                                                DOJ‐BERMAN‐R_0000292710   DOJ‐BERMAN‐R_0000292710
 22      Exhibit 64 from Keith Berman SEC Testimony (10.09.2020) (Questionnaire)    DOJ‐BERMAN‐R_0000292674   DOJ‐BERMAN‐R_0000292697
 23      User Registration and IP Log (plutoniumimplosion)                          DOJ‐BERMAN‐R_0000309215   DOJ‐BERMAN‐R_0000309234   DOJ‐BERMAN‐R_0000337694
 24      Correspondence re: Suspension (plutoniumimplosion)                         DOJ‐BERMAN‐R_0000307912   DOJ‐BERMAN‐R_0000307915   DOJ‐BERMAN‐R_0000337694
                                                                                    DOJ‐BERMAN‐R_0000308782   DOJ‐BERMAN‐R_0000308915   DOJ‐BERMAN‐R_0000337694
 25      Public Postings (plutoniumimplosion)
                                                                                    DOJ‐BERMAN‐R_0000258663   DOJ‐BERMAN‐R_0000258787   DOJ‐BERMAN‐R_0000337615
   26    Message from plutoniumimplosion re: Shareholder Letter                     DOJ‐BERMAN‐R_0000308223   DOJ‐BERMAN‐R_0000308223   DOJ‐BERMAN‐R_0000337694
   27    User Registration (investorshangout.com)                                   DOJ‐BERMAN‐R_0000250928   DOJ‐BERMAN‐R_0000250928   DOJ‐BERMAN‐R_0000337693
   28    IP Log (investorshangout.com)                                              DOJ‐BERMAN‐R_0000248199   DOJ‐BERMAN‐R_0000248199   DOJ‐BERMAN‐R_0000337693
  29A    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245500   DOJ‐BERMAN‐R_0000245500   DOJ‐BERMAN‐R_0000337693
  29B    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245501   DOJ‐BERMAN‐R_0000245501   DOJ‐BERMAN‐R_0000337693
  29C    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245502   DOJ‐BERMAN‐R_0000245502   DOJ‐BERMAN‐R_0000337693
  29D    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245503   DOJ‐BERMAN‐R_0000245503   DOJ‐BERMAN‐R_0000337693
  29E    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245504   DOJ‐BERMAN‐R_0000245504   DOJ‐BERMAN‐R_0000337693
  29F    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245505   DOJ‐BERMAN‐R_0000245505   DOJ‐BERMAN‐R_0000337693
  29G    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245519   DOJ‐BERMAN‐R_0000245519   DOJ‐BERMAN‐R_0000337693
  29H    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245520   DOJ‐BERMAN‐R_0000245520   DOJ‐BERMAN‐R_0000337693
  29I    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245522   DOJ‐BERMAN‐R_0000245522   DOJ‐BERMAN‐R_0000337693
  29J    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245523   DOJ‐BERMAN‐R_0000245523   DOJ‐BERMAN‐R_0000337693
  29K    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245524   DOJ‐BERMAN‐R_0000245524   DOJ‐BERMAN‐R_0000337693
  29L    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245542   DOJ‐BERMAN‐R_0000245542   DOJ‐BERMAN‐R_0000337693
 29M     Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245545   DOJ‐BERMAN‐R_0000245545   DOJ‐BERMAN‐R_0000337693
 29N     Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245547   DOJ‐BERMAN‐R_0000245547   DOJ‐BERMAN‐R_0000337693
 29O     Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245549   DOJ‐BERMAN‐R_0000245549   DOJ‐BERMAN‐R_0000337693
  29P    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245556   DOJ‐BERMAN‐R_0000245556   DOJ‐BERMAN‐R_0000337693
 29Q     Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245557   DOJ‐BERMAN‐R_0000245557   DOJ‐BERMAN‐R_0000337693
  29R    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245558   DOJ‐BERMAN‐R_0000245558   DOJ‐BERMAN‐R_0000337693
  29S    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245559   DOJ‐BERMAN‐R_0000245559   DOJ‐BERMAN‐R_0000337693
  29T    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245560   DOJ‐BERMAN‐R_0000245560   DOJ‐BERMAN‐R_0000337693
  29U    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245561   DOJ‐BERMAN‐R_0000245561   DOJ‐BERMAN‐R_0000337693
  29V    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245562   DOJ‐BERMAN‐R_0000245562   DOJ‐BERMAN‐R_0000337693
 29W     Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245563   DOJ‐BERMAN‐R_0000245563   DOJ‐BERMAN‐R_0000337693
  29X    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245564   DOJ‐BERMAN‐R_0000245564   DOJ‐BERMAN‐R_0000337693
  29Y    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245565   DOJ‐BERMAN‐R_0000245565   DOJ‐BERMAN‐R_0000337693
  29Z    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245566   DOJ‐BERMAN‐R_0000245566   DOJ‐BERMAN‐R_0000337693
 29AA    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245567   DOJ‐BERMAN‐R_0000245567   DOJ‐BERMAN‐R_0000337693
 29BB    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245568   DOJ‐BERMAN‐R_0000245568   DOJ‐BERMAN‐R_0000337693
 29CC    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245569   DOJ‐BERMAN‐R_0000245569   DOJ‐BERMAN‐R_0000337693
29DD     Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245570   DOJ‐BERMAN‐R_0000245570   DOJ‐BERMAN‐R_0000337693
 29EE    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245571   DOJ‐BERMAN‐R_0000245571   DOJ‐BERMAN‐R_0000337693
 29FF    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245572   DOJ‐BERMAN‐R_0000245572   DOJ‐BERMAN‐R_0000337693
29GG     Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245630   DOJ‐BERMAN‐R_0000245630   DOJ‐BERMAN‐R_0000337693
29HH     Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245631   DOJ‐BERMAN‐R_0000245631   DOJ‐BERMAN‐R_0000337693
  29II   Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245632   DOJ‐BERMAN‐R_0000245632   DOJ‐BERMAN‐R_0000337693
  29JJ   Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245633   DOJ‐BERMAN‐R_0000245633   DOJ‐BERMAN‐R_0000337693
 29KK    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245634   DOJ‐BERMAN‐R_0000245634   DOJ‐BERMAN‐R_0000337693
 29LL    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245635   DOJ‐BERMAN‐R_0000245635   DOJ‐BERMAN‐R_0000337693
29MM     Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245636   DOJ‐BERMAN‐R_0000245636   DOJ‐BERMAN‐R_0000337693
29NN     Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245637   DOJ‐BERMAN‐R_0000245637   DOJ‐BERMAN‐R_0000337693
29OO     Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245638   DOJ‐BERMAN‐R_0000245638   DOJ‐BERMAN‐R_0000337693
 29PP    Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245639   DOJ‐BERMAN‐R_0000245639   DOJ‐BERMAN‐R_0000337693
29QQ     Response to Plutonium by Fuente                                            DOJ‐BERMAN‐R_0000245640   DOJ‐BERMAN‐R_0000245640   DOJ‐BERMAN‐R_0000337693
                                                        Case 1:20-cr-00278-TNM Document 68-1 Filed 12/28/21 Page 4 of 6


  29RR     Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245641   DOJ‐BERMAN‐R_0000245641   DOJ‐BERMAN‐R_0000337693
   29SS    Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245642   DOJ‐BERMAN‐R_0000245642   DOJ‐BERMAN‐R_0000337693
  29TT     Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245643   DOJ‐BERMAN‐R_0000245643   DOJ‐BERMAN‐R_0000337693
  29UU     Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245645   DOJ‐BERMAN‐R_0000245645   DOJ‐BERMAN‐R_0000337693
  29VV     Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245646   DOJ‐BERMAN‐R_0000245646   DOJ‐BERMAN‐R_0000337693
 29WW      Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245647   DOJ‐BERMAN‐R_0000245647   DOJ‐BERMAN‐R_0000337693
  29XX     Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245648   DOJ‐BERMAN‐R_0000245648   DOJ‐BERMAN‐R_0000337693
  29YY     Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245649   DOJ‐BERMAN‐R_0000245649   DOJ‐BERMAN‐R_0000337693
   29ZZ    Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245650   DOJ‐BERMAN‐R_0000245650   DOJ‐BERMAN‐R_0000337693
 29AAA     Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245651   DOJ‐BERMAN‐R_0000245651   DOJ‐BERMAN‐R_0000337693
 29BBB     Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245652   DOJ‐BERMAN‐R_0000245652   DOJ‐BERMAN‐R_0000337693
 29CCC     Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245653   DOJ‐BERMAN‐R_0000245653   DOJ‐BERMAN‐R_0000337693
 29DDD     Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245654   DOJ‐BERMAN‐R_0000245654   DOJ‐BERMAN‐R_0000337693
  29EEE    Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245655   DOJ‐BERMAN‐R_0000245655   DOJ‐BERMAN‐R_0000337693
  29FFF    Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245656   DOJ‐BERMAN‐R_0000245656   DOJ‐BERMAN‐R_0000337693
 29GGG     Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245676   DOJ‐BERMAN‐R_0000245676   DOJ‐BERMAN‐R_0000337693
 29HHH     Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000245677   DOJ‐BERMAN‐R_0000245677   DOJ‐BERMAN‐R_0000337693
   29III   Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000246465   DOJ‐BERMAN‐R_0000246465   DOJ‐BERMAN‐R_0000337693
   29JJJ   Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000246467   DOJ‐BERMAN‐R_0000246467   DOJ‐BERMAN‐R_0000337693
 29KKK     Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000246547   DOJ‐BERMAN‐R_0000246547   DOJ‐BERMAN‐R_0000337693
  29LLL    Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000246604   DOJ‐BERMAN‐R_0000246604   DOJ‐BERMAN‐R_0000337693
29MMM      Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000246667   DOJ‐BERMAN‐R_0000246667   DOJ‐BERMAN‐R_0000337693
 29NNN     Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000246686   DOJ‐BERMAN‐R_0000246686   DOJ‐BERMAN‐R_0000337693
 29OOO     Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000246897   DOJ‐BERMAN‐R_0000246897   DOJ‐BERMAN‐R_0000337693
 29PPP     Response to Plutonium by Fuente                                                                        DOJ‐BERMAN‐R_0000246899   DOJ‐BERMAN‐R_0000246899   DOJ‐BERMAN‐R_0000337693
    30     Audio Recording of FBI Interview of Keith Berman                                                       DOJ‐BERMAN‐R_0000275573   DOJ‐BERMAN‐R_0000275573
                                                                                                                  DOJ‐BERMAN‐R_0000276348   DOJ‐BERMAN‐R_0000276348
           Email from CDRH‐EUA‐Templates to Maria Garcia re: FW: PPEUA200323‐FW: EUA for Covid‐19 Screen          DOJ‐BERMAN‐R_0000276349   DOJ‐BERMAN‐R_0000276365
  31
           using blood samples                                                                                    DOJ‐BERMAN‐R_0000276366   DOJ‐BERMAN‐R_0000276366
                                                                                                                  DOJ‐BERMAN‐R_0000276367   DOJ‐BERMAN‐R_0000276372
           Email from Maria Garcia to Laura Ulitzky re: feedback sent to PEUA200323 impedance testing
                                                                                                                  DOJ‐BERMAN‐R_0000337708   DOJ‐BERMAN‐R_0000337708
  32       Letter from FDA to Lisa Pritchard re:PEUA200232 Pharma Tech Solutions, Inc. GenViro!(TM) COVID‐19
                                                                                                                  DOJ‐BERMAN‐R_0000276187   DOJ‐BERMAN‐R_0000276190
           Screening Kit
                                                                                                                  DOJ‐BERMAN‐R_0000276268   DOJ‐BERMAN‐R_0000276272
           Email from Maria Garcia to Lisa Pritchard re: PEUA200323 Pharma Tech Solutions, Inc. GenViro!(TM)
  33                                                                                                              DOJ‐BERMAN‐R_0000276273   DOJ‐BERMAN‐R_0000276276
           COVID‐19 Screening Kit
                                                                                                                  DOJ‐BERMAN‐R_0000276277   DOJ‐BERMAN‐R_0000276286
           Email from Maria Garcia to Mark DuVal and Lisa Pritchard re: PEUA200323 A002 GenViro! Request for
  34                                                                                                              DOJ‐BERMAN‐R_0000276548   DOJ‐BERMAN‐R_0000276551
           Teleconference
  35       Email from Bowen Cui to Lisa Pritchard re: PEUA200323                                                  DOJ‐BERMAN‐R_0000276543   DOJ‐BERMAN‐R_0000276544
  36       Summary of Defendant's Home and Business IP Address Use
  37       Summary of Bank Records
  38       Email from Keith Berman to Daniel Kim re: Coronavirus                                                  DOJ‐BERMAN‐R_0000052333   DOJ‐BERMAN‐R_0000052334   DOJ‐BERMAN‐R_0000345819
  39       Email from Keith Berman to Daniel Kim re: Problem to delivery TBG Sleeve samples                       DOJ‐BERMAN‐R_0000129874   DOJ‐BERMAN‐R_0000129882   DOJ‐BERMAN‐R_0000345819
  40       Email from Keith Berman to Daniel Kim re: Sleeve                                                       DOJ‐BERMAN‐R_0000130624   DOJ‐BERMAN‐R_0000130630   DOJ‐BERMAN‐R_0000345819
  41       Email from Keith Berman to Daniel Kim re Design Change and Review Implementation                       DOJ‐BERMAN‐R_0000175729   DOJ‐BERMAN‐R_0000175736   DOJ‐BERMAN‐R_0000345819
           Email from Keith Berman to Matthew Musho re: do either of you have experience working for or against
  42                                                                                                              DOJ‐BERMAN‐R_0000005923   DOJ‐BERMAN‐R_0000005926
           CDC
                                                                                                                  DOJ‐BERMAN‐R_0000045810   DOJ‐BERMAN‐R_0000045810
  43       Email from Nathen Ruiz to Keith Berman re: Corona Virus test by Impedance
                                                                                                                  DOJ‐BERMAN‐R_0000238907   DOJ‐BERMAN‐R_0000238923
                                                                                                                  DOJ‐BERMAN‐R_0000054359   DOJ‐BERMAN‐R_0000054359
  44       Email from Keith Berman to Daniel Kim re: GenViro! PowerPoint                                                                                              DOJ‐BERMAN‐R_0000345819
                                                                                                                  DOJ‐BERMAN‐R_0000239425   DOJ‐BERMAN‐R_0000239425
                                                                                                                  DOJ‐BERMAN‐R_0000180928   DOJ‐BERMAN‐R_0000180928
  45       Email from Nathen Ruiz to Keith Berman re: GenViro! Updated Powerpoint                                                                                     DOJ‐BERMAN‐R_0000345819
                                                                                                                  DOJ‐BERMAN‐R_0000228378   DOJ‐BERMAN‐R_0000228396
  46       Email from Robert Jagunich to Keith Berman Re: GenViro                                                 DOJ‐BERMAN‐R_0000045831   DOJ‐BERMAN‐R_0000045833   DOJ‐BERMAN‐R_0000345819
           Email from Keith Berman to Mark DuVal and Lisa Pritchard re: EUA for COVID‐19 Screen Using Blood
  47                                                                                                              DOJ‐BERMAN‐R_0000001317   DOJ‐BERMAN‐R_0000001335
           Samples
                                                                                                                  DOJ‐BERMAN‐R_0000098659   DOJ‐BERMAN‐R_0000098659
  48       Email from Nathen Ruiz to Keith Berman re: Newest GenViro! Powerpoint                                                                                      DOJ‐BERMAN‐R_0000345819
                                                                                                                  DOJ‐BERMAN‐R_0000230461   DOJ‐BERMAN‐R_0000230479
  49       Email from Keith Berman to Daniel Kim re: GenViro!                                                     DOJ‐BERMAN‐R_0000054607   DOJ‐BERMAN‐R_0000054607   DOJ‐BERMAN‐R_0000345819
                                                   Case 1:20-cr-00278-TNM Document 68-1 Filed 12/28/21 Page 5 of 6


50   Email from Keith Berman to Daniel Kim re: GenViro!                                                      DOJ‐BERMAN‐R_0000054600   DOJ‐BERMAN‐R_0000054606   DOJ‐BERMAN‐R_0000345819
51   Email from Keith Berman to Robert Jagunich                                                              DOJ‐BERMAN‐R_0000215203   DOJ‐BERMAN‐R_0000215204   DOJ‐BERMAN‐R_0000345819
52   Email from Robert Jagunich to Keith Berman Re: Covid device                                             DOJ‐BERMAN‐R_0000181553   DOJ‐BERMAN‐R_0000181554   DOJ‐BERMAN‐R_0000345819
                                                                                                             DOJ‐BERMAN‐R_0000004915   DOJ‐BERMAN‐R_0000004915
53   Email from Keith Berman to Matthew Musho re: Comments on 03.22.2020_pptx
                                                                                                             DOJ‐BERMAN‐R_0000004916   DOJ‐BERMAN‐R_0000004921
                                                                                                             DOJ‐BERMAN‐R_0000011281   DOJ‐BERMAN‐R_0000011281
54   Email from Keith Berman to Daniel Kim and Matthew Musho re: Comments on 03.22.2020_pptx
                                                                                                             DOJ‐BERMAN‐R_0000011282   DOJ‐BERMAN‐R_0000011282
                                                                                                             DOJ‐BERMAN‐R_0000216244   DOJ‐BERMAN‐R_0000216244
55   Email from Keith Berman to Matthew Musho re: Final Genviro SCREEN Tool Product                                                                              DOJ‐BERMAN‐R_0000345819
                                                                                                             DOJ‐BERMAN‐R_0000239536   DOJ‐BERMAN‐R_0000239536
56   Email from Keith Berman to Matthew Musho re: Coronoa Virus Test by Impedence                            DOJ‐BERMAN‐R_0000005904   DOJ‐BERMAN‐R_0000005905
57   Email from Matthew Musho to Keith Berman re: EUA Responses                                              DOJ‐BERMAN‐R_0000010258   DOJ‐BERMAN‐R_0000010260
58   Email from Keith Berman to Mark DuVal and Lisa Pritchard re: GenViro!                                   DOJ‐BERMAN‐R_0000001481   DOJ‐BERMAN‐R_0000001483
59   Email from Keith Berman to Matthew Musho re: Genviro                                                    DOJ‐BERMAN‐R_0000006037   DOJ‐BERMAN‐R_0000006047
     Email from Keith Berman to Mark DuVal and Lisa Pritchard re: EUA for COVID‐19 Screen Using Blood
60                                                                                                           DOJ‐BERMAN‐R_0000001696   DOJ‐BERMAN‐R_0000001703
     Samples
61   Email from Daniel Kim to Keith Berman re: GenViro                                                       DOJ‐BERMAN‐R_0000244248   DOJ‐BERMAN‐R_0000244254
62   Email from Keith Berman to Daniel Kim re: GenViro                                                       DOJ‐BERMAN‐R_0000204280   DOJ‐BERMAN‐R_0000204295   DOJ‐BERMAN‐R_0000345819
                                                                                                             DOJ‐BERMAN‐R_0000008411   DOJ‐BERMAN‐R_0000008418
63   Email from Keith Berman to Matthew Musho re: GenViro
                                                                                                             DOJ‐BERMAN‐R_0000008419   DOJ‐BERMAN‐R_0000008423
64   Email from Keith Berman to Mark DuVal and Lisa Pritchard re: PEUA200323 Acknowledgement Letter          DOJ‐BERMAN‐R_0000001715   DOJ‐BERMAN‐R_0000001718
65   Email from Matthew Musho to Keith Berman re: GenViro drawing                                            DOJ‐BERMAN‐R_0000031206   DOJ‐BERMAN‐R_0000031207   DOJ‐BERMAN‐R_0000345819
     Email from Keith Berman to Matthew Musho, Lisa Pritchard and Mark DuVal re: PEUA200232 harmaTech
66                                                                                                           DOJ‐BERMAN‐R_0000009537   DOJ‐BERMAN‐R_0000009546
     Solutions Inc. GenViro!(TM) Covid‐19 Screening Kit
                                                                                                             DOJ‐BERMAN‐R_0000145496   DOJ‐BERMAN‐R_0000145496
67   Email from Nathen Ruiz to Keith Berman re: GenViro! Swift Meter Mock Up Box                                                                                 DOJ‐BERMAN‐R_0000345819
                                                                                                             DOJ‐BERMAN‐R_0000230209   DOJ‐BERMAN‐R_0000230209
     Email from Keith Berman to Matthew Musho, Leslie Musho, Mark DuVal and Lisa Pritchard re: Summary of
68                                                                                                           DOJ‐BERMAN‐R_0000000450   DOJ‐BERMAN‐R_0000000454
     Pharma Tech Call with FDA to Discuss EUA Testing
     Email from Keith Berman to Mark DuVal and Lisa Pritchard re: Summary of Pharma Tech Call with FDA to
69                                                                                                           DOJ‐BERMAN‐R_0000000472   DOJ‐BERMAN‐R_0000000477
     Discuss EUA Testing
70   Email from Shepard Doniger to Keith Berman Re: One pager DRAFT                                          DOJ‐BERMAN‐R_0000345750   DOJ‐BERMAN‐R_0000345751   DOJ‐BERMAN‐R_0000345819
                                                                                                             DOJ‐BERMAN‐R_0000345752   DOJ‐BERMAN‐R_0000345752
71   Email from Shepard Doniger to Keith Berman re: One pager DRAFT                                          DOJ‐BERMAN‐R_0000345753   DOJ‐BERMAN‐R_0000345754   DOJ‐BERMAN‐R_0000345819
                                                                                                             DOJ‐BERMAN‐R_0000345755   DOJ‐BERMAN‐R_0000345755
                                                                                                             DOJ‐BERMAN‐R_0000345756   DOJ‐BERMAN‐R_0000345756
72   Email from Shepard Doniger to Keith Berman Re: One pager DRAFT                                                                                              DOJ‐BERMAN‐R_0000345819
                                                                                                             DOJ‐BERMAN‐R_0000345757   DOJ‐BERMAN‐R_0000345758
73   Email from Kimberly Binder to Nathen Ruiz re: Mobirise form submission on pharmatechsolutions.co site   DOJ‐BERMAN‐R_0000043733   DOJ‐BERMAN‐R_0000043733
74   Email from Keith Berman to Nathen Ruiz re: Genviro Banner says FDA cleared                              DOJ‐BERMAN‐R_0000119642   DOJ‐BERMAN‐R_0000119642
     Email from Keith Berman to Mark DuVal and Lisa Pritchard re: PEUA200323 Pharma Tech Solu8ons, Inc.
75                                                                                                           DOJ‐BERMAN‐R_0000000478   DOJ‐BERMAN‐R_0000000488
     GenViro!(TM) COVID‐19 Screening Kit
76   Email from Matt Chad to Keith Berman re: Latest Data                                                    DOJ‐BERMAN‐R_0000044517   DOJ‐BERMAN‐R_0000044518   DOJ‐BERMAN‐R_0000345819
77   Email from Matt Chad to Keith Berman re: Decision Diagnostics                                           DOJ‐BERMAN‐R_0000079818   DOJ‐BERMAN‐R_0000079818   DOJ‐BERMAN‐R_0000345819
78   Email from Matt Chad to Keith Berman re: DECN                                                           DOJ‐BERMAN‐R_0000147693   DOJ‐BERMAN‐R_0000147697   DOJ‐BERMAN‐R_0000345819
79   Email from Matt Chad to Keith Berman re: DECN                                                           DOJ‐BERMAN‐R_0000164026   DOJ‐BERMAN‐R_0000164034   DOJ‐BERMAN‐R_0000345819
80   Email from Keith Berman to Matt Chad re: letter                                                         DOJ‐BERMAN‐R_0000125319   DOJ‐BERMAN‐R_0000125319   DOJ‐BERMAN‐R_0000345819
81   Email from Keith Berman to Daniel Kim re: GebViro and Others on 6/2                                     DOJ‐BERMAN‐R_0000070971   DOJ‐BERMAN‐R_0000070976
82   Email from Keith Berman to Matthew Musho re: Problem                                                    DOJ‐BERMAN‐R_0000006285   DOJ‐BERMAN‐R_0000006286
83   Email from Keith Berman to Matthew Musho re: Problem                                                    DOJ‐BERMAN‐R_0000006287   DOJ‐BERMAN‐R_0000006288
84   Email from Matt Chad to Keith Berman re: Letter                                                         DOJ‐BERMAN‐R_0000147942   DOJ‐BERMAN‐R_0000147945   DOJ‐BERMAN‐R_0000345819
85   Email from Keith Berman to Matthew Musho re: GenViro HCT Test Report = Further Tests                    DOJ‐BERMAN‐R_0000009322   DOJ‐BERMAN‐R_0000009327
                                                                                                             DOJ‐BERMAN‐R_0000292351   DOJ‐BERMAN‐R_0000292351
86   Covid‐19 :15 Test Talking Points
                                                                                                             DOJ‐BERMAN‐R_0000292352   DOJ‐BERMAN‐R_0000292353
87   Email from Keith Berman to MC re: I have a task for you                                                 DOJ‐BERMAN‐R_0000159956   DOJ‐BERMAN‐R_0000159956   DOJ‐BERMAN‐R_0000345819
                                                                                                             DOJ‐BERMAN‐R_0000078742   DOJ‐BERMAN‐R_0000078742
                                                                                                             DOJ‐BERMAN‐R_0000236057   DOJ‐BERMAN‐R_0000236071
88   Shareholder Letters                                                                                                                                         DOJ‐BERMAN‐R_0000345819
                                                                                                             DOJ‐BERMAN‐R_0000236072   DOJ‐BERMAN‐R_0000236080
                                                                                                             DOJ‐BERMAN‐R_0000236081   DOJ‐BERMAN‐R_0000236099
89   Email from Michael Triglia to Misty Racimo re: Text messages Keith Berman                               DOJ‐BERMAN‐R_0000329143   DOJ‐BERMAN‐R_0000329158
                                                   Case 1:20-cr-00278-TNM Document 68-1 Filed 12/28/21 Page 6 of 6


     Email from Michael Triglia to Misty Racimo FWD: Fw: Biden Administration Finalizing Six Contracts to
90                                                                                                          DOJ‐BERMAN‐R_0000329097   DOJ‐BERMAN‐R_0000329099
     Increase At‐Home SARS‐CoV‐2 Testing | 360Dx
